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EXHIBIT J

case 1:09-cv-00597-LiviB-TCB Documeni 41-11 i=iied 10/23/09 Page 2 of 5 Pa§’éiii§¢l ?§ii

Roth, Nlelissa R.

From: Dickinson, Nlichelle J.
Sent: l\'iondayl October 05, 2009 3142 PlV|

To: isabel lVl Humphrey

Cc: toth, Nlelissa R.; Cramerl Vanessa; 'd|udwig@dg|egal.com'
Subject: RE: Loomis laptops

isabell

We are curious as to why, when you have yet to respond to our numerous letters regarding your clients' discovery
response de"'iciencies or our requests for deposition dates and you have yet to produce a single document iri this
case, you are hxated on a laptop computer that your client returned to Net Enforcers while keeping Net

Enforcers' newer model laptop over a year ago. We request that you focus on the more pressing issues related to
litigating this case - as discovery closes on December llth and we will find ourselves in trial not long thereafter.

We are prepared to retrieve Net Enforcers' laptop and return Loomis' laptop with the software intact and only the
data removed. We will do so, howeverl only under circumstances that will protect our clients from potential claims
from Loomis that our clients destroyed data or damaged either computer. l:urtherl we will do so under
circumstances such that a qualified computer technician may testify that the computer Loomis provides was not
damaged after the exchange and before any forensic analysis can be performed According|y, we will send a
computer technician to your offices to make the exchange and transport the computer back to the East Coast for
examination We should be able to do so in the next week or so after the data has been removed We trust this
will assuage your desire to bring civil or criminal charges against our clients related to the laptop computer and
will enabie you to refocus your energies on the actual issues in this case.

We again request that you provide Loomis' computers for imaging by the computer technician we send to
exchange the |aptops. This will save the parties time and resources Rather than threatening a counterclaim or
criminal action, perhaps you could respond to our request for the computer images directly and indicate whether
you intend to produce Loomis' computers for imaging, an image of his computersl or nothing at all. if sol we can
arrange for the images to be made by the computer technician at the time of the laptop exchange |f notl we will
move forward with seeking the court‘s assistance with this matter.

V\i'e look forward to your prompt attention and response to this and ali other outstanding discovery issues As you
did not respond to our emaii sent at 1:22 p.m. EST today requesting a call at 3:00 p.m. EST today or 4:00 p.m.
EST tomorrow to discuss the discovery issues please advise as to your availability for a call tomorrow at 4100
p.m. EST. Thanl< you in advance for your cooperation with these issues

i\/licheiie

From: Isabel M Humphrey [mailto:isabe|@hhy|aw.com]
Sent:: Monday, October 05, 2009 2:45 PM

To: ll'ic|<insonr Michelle J.

Cc: Roth, Melissa R.; Cramer, Vanessa

Subject: RE: Loomis laptops

So send someone upstairs | will not move the laptop in my possession until they get here, | will let them
pick i'=: up so | don‘t drop it, and l will keep it away from any large magnets l can't imagine what you think
might happen that would require the presence ofa computer tech/consultantl but if you really need one,
there are probably a couple of dozen available within a S-minute drive from this building who would be
happy to charge you $100 per hour to drive over here and switch the |aptops. No need for anyone to fly in
from out of state.

lfl dc not have Joe's laptop by the end of the business day tomorrowl we will move to add a conversion
count to the counterclaim and Joe will call the police. l am not conditioning the release of NE|'s laptop on

lO/23/2009

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the resolution of any of our discovery issues and there is no excuse for you conditioning the release of
Joe's laptop on any of those issues

Regarding the laptop in NEi's possessionl please confirm that when you say you will remove the "data" on
that laptop prior to the exchange, you are referring only to NE| datal and you will leave in place ali installed
software

isabel iVl. i-iumphrey, Esq.

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-- Original ll/|essage --
From: "Dickinson, lViicheile J.“
To: "|sabel Ni i~lumphrey"
Sent: 10/05/2009 11:16Ai‘vi
Subject: RE; Loomis |aptops

Thani<s for your emaii response lsabel. in light of the data destruction issues in this case, our client is
taking extra measures to ensure that the exchange of computers does not unnecessarily lead to a data
destruction problem.

Nlichei|e

 

From: Isabel M i-lumphrey [maiito:isabe|@hhyiaw.com]
Sent: Monday, October 05, 2009 2:08 PM

To: Dickinson, Michelle J.

Cc: Roth, Melissa R.,' Cramer, Vanessa

Subject: Re: Loomis |aptops

ivlicheiie, l can‘t understand why you need an out-of-state "consuitant" to “faciiitate" the exchange of
the |aptops. Can't you just send someone up from downstairs?? Or l can send someone
downstairs Either way. This should take 2 minutes

isabel Nl. Humphrey` Esq.

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---- Origina| Niessage ---

From: "Dicl<insonl il/iiche||e J."
To:

10/23/2009

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Sent: 10102/2009 5:47PM
Subject: Re: Loomis |aptops

lsabel,

Thank you for your email. As explained in our letter, we will be paying a consultant to facilitate the exchange
of the laptop computers as a result of Joe's return of the wrong computer after his terminationl in order to
avoid unnecessary additional expenses, it makes sense to have the consultant make only one trip to Arizona
and image the tower and the other computers in Joe's possession, custody or control during that visit P|case
confirm your agreement with this arrangement Thanks.

Michelle

Michelle J. Dickinson

DLA Piper LLP (US)

6225 Sm ith Avenue

Baitimore, Mary|and 21209-3600
(4 | 0) 580-4137 Direct Phone
(4]0) 580-3l37 Direct Fax
michelle.dickinson@dlapiper.com

AT'FORN EY WORK PRODUCT

----- Originai Message -----

From: isabel M I~iumphrey <isabel@hhylaw.com>
To: Dickinson, Michelle J.

Sent: Fri Oct 02 20:03:08 2009

Subject: RE; Loomis |aptops

Miche|le, l've reviewed your latest communication regarding the laptops. I‘m glad we have finally resolved
the ownership issue. Piease have your computer tech call me to arrange a time to exchange the laptops. l will
be in the office most of the day Monday and Tuesday.

I will respond to the other issues raised in your letter, but obviously NEl is required to return Joe's property
immediately and unconditionallyl

Isabel M. I-lumphrey, Esq.

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